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                                                                          U.S. DISTRICT COURT
                                                                              N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

PAPE TAMBA,                            ]
                                       ]
      Plaintiff/Counter-Defendant,     ]
                                       ]
v.                                     ]     CIVIL ACTION NO.
                                       ]     2:18-CV-00392-KOB
PUBLIX SUPER MARKETS, INC.,            ]
                                       ]
      Defendant/Counter-Claimant.      ]

                                   JUDGMENT

      For the reasons stated in the court’s Memorandum Opinion entered

contemporaneously with this Order, the court ENTERS JUDGMENT in favor of

Defendant/Counter-Claimant Publix Super Markets, Inc. and against

Plaintiff/Counter-Defendant Pape Tamba in the amount of $15,246.57 on Publix’s

breach of contract counterclaim.

      DONE and ORDERED this 20th day of September, 2019.



                                     ____________________________________
                                     KARON OWEN BOWDRE
                                     CHIEF UNITED STATES DISTRICT
                                     JUDGE




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